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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                        CASE NO. 22-CV-61107

  ANGELA HUGHES,
                   Plaintiff,
  v.

  ONCOLOGY & HEMATOLOGY
  ASSOCIATES OF WEST
  BROWARD, P.A., and
  SUMIT SAWHNEY, M.D.,

              Defendants.
  _________________________________________/

                   DEFENDANTS’ CERTIFICATE OF INTERESTED PERSONS
                       AND CORPORATE DISCLOSURE STATEMENT

          Defendants, ONCOLOGY & HEMATOLOGY ASSOCIATES OF WEST BROWARD,

  P.A., and SUMIT SAWHNEY, M.D., (“Defendants”), by and through undersigned counsel, and

  pursuant to Rule 7.1 of the Federal Rules of Civil Procedure, hereby discloses the following:


          1.       The name of each person, attorney, association of persons, firm, law firm,

  partnership, and corporation that has or may have an interest in a party to this action or in the

  outcome of this action, including subsidiaries, conglomerates, affiliates, parent corporations,

  publicly-traded companies that own 10% or more of a party’s stock, and all other identifiable legal

  entities related to a party.

               •   Angela Hughes – Plaintiff;
               •   Brian H. Pollock, Esq. – counsel for Plaintiff;
               •   FairLaw Firm – counsel for Plaintiff;
               •   Oncology & Hematology Associates of West Broward, P.A. – Defendant;
               •   Sumit Sawhney, M.D. – Defendant;


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               •   Stephanie Pidermann, Esq. - counsel for Defendants;
               •   Katherine Gudaitis, Esq. – counsel for Defendants;
               •   Lydecker LLP, Law Firm – counsel for Defendants.
               •   There are no parent corporations or publicly held corporations that hold ten percent
                   or more of Defendants’ stock/membership interest.
         2.        The name of every other entity whose publicly-traded stock, equity, or debt may be

  substantially affected by the outcome of the proceedings.

                       •   None Known

         3.        The name of every other entity which is likely to be an active participant in the

  proceedings, including the debtor and members of the creditors’ committee (or if no creditors’

  committee the 20 largest unsecured creditors).

                       •   None Known

         4.        The name of each victim (individual and corporate), including every person who

  may be entitled to restitution.

                       •   None Known


         5.        Check one of the following:

              X a. I certify that I am unaware of any actual or potential conflict of interest involving

  the District Judge and Magistrate Judge assigned to this case and will immediately notify the Court

  in writing upon learning of any such conflict.


         ____b. I certify that I am aware of a conflict or basis of recusal of the District Judge or

  Magistrate Judge as follows:


  Dated this 13th day of July, 2022.



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                                                       Respectfully submitted,

                                                       LYDECKER LLP
                                                       Attorneys for Defendants, Oncology & Hematology
                                                       Associates of West Broward, P.A., and Sumit
                                                       Sawhney
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                                                       Miami, Florida 33131
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                                               By:     /s/ Stephanie Pidermann
                                                       Stephanie Pidermann, Esq.
                                                       Florida Bar Number: 60414
                                                       sp@lydecker.com
                                                       KATHERINE GUDAITIS, ESQ.
                                                       Florida Bar No: 106954
                                                       kg@lydecker.com


                                  CERTIFICATE OF SERVICE

         I hereby certify that I electronically filed the foregoing document with the Clerk of Court
  using CM/ECF on July 13, 2022. I also certify that a true and correct copy of the foregoing was
  served this day via transmission of Notices of Electronic Filing generated by CM/ECF and via
  U.S. Mail on all counsel or parties of record on the Service List below.

                                                       /s/ Stephanie Pidermann
                                                       Stephanie Pidermann, Esq.

                                          SERVICE LIST

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